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Exhibit D
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DECLARATION UNDER PENALTY OF PERJURY
PURSUANT TO 28 U.S.C. § 1746

. My name is Tommie Jordan. I am over eighteen years of age and competent
to testify to the matters contained herein.

- Lam a resident of Sumter County in Georgia and my residence address is 502
Peachtree Street, Americus, GA 31719.

. I voted in the 2018 general election for Governor. I was very disappointed in
the outcome.

- I recently received a postcard from the Sumter County Board of Registrars
that stated that my voter registration was inactive through the November 8,
2016 and the November 6, 2018 General Elections. The notice said if I did
not return the post card in 30 days, I would be removed from the voter rolls.
A copy of this notice is attached to this declaration as Exhibit A. The notice
is not dated.

. I voted in the 2018 general election and the 2016 presidential primary. I have
not moved or updated my driver’s license. In fact, I have lived in the same
house for over thirty years. I do not know why I was sent a notice telling me
my voter registration is inactive.

. The post card spelled my first name incorrectly. My first name is spelled
“Tommie” not “Tommy.” My name is spelled “Tommie” on both my voter

registration page of the Secretary of State’s website and on my driver’s
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license. A copy of my Secretary of State voter information is attached to this
declaration as Exhibit B.

. Receiving the notice telling me I could lose my right to vote kind of upset me
because I’ve been doing what I need to do. And at the same time, they are
trying to take away my right to vote and that upsets me. I have been dealing
with a lot of sickness with me and my wife and I’m still trying to do the right
thing by voting. We’ve been going through a lot and trying to get back.

. I am upset that I received this notification, but I am going to send it back
because it is our right to vote.

. I give this Declaration freely, without coercion, and without any expectation

of compensation or other reward.

10. [ understand that in giving this Declaration, that I am not represented by a

lawyer. Nor has any lawyer asked me to be their client or to serve in anyway

as anything other than a witness in this litigation.

11. [ declare under penalty of perjury that the foregoing is true and correct.

Further affiant sayeth not, this the 4S day of Wovwibde +, 2019.

arate op

Tommie JordanH

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Exhibit A Letter from Sumter County Voter Registration

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SUMTER CouNTy ee
NTY VOTER REGISTRATION
P.O.BOX 1263

AMERICUS GA 31709

PHONE: 229-928-4580

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Exhibit B
Secretary of State MVP Page
12/16/2019

My Voter Page

Newly Registered Voters: Please review your registration date which is located under your name and address above. You must be registered on or
before the established deadlines to vote in upcoming elections. Please view the current election calendar to confirm the first election in which you will

be

r Information

TOMMIE JAMES JORDAN

502 PEACHTREE ST
AMERICUS, GA, 31719

Race: Black not of Hispanic Origin
Gender: Male Status: Active
Registration Date: 06/28/2012

Change Voter Information

Click Here for Sample Ballots

st Information

If you prefer to vote off-site, mail or fax your absentee
ballot application to your county registrar.
Click Here for an Absentee Ballot Application

Click here for Absentee Ballot status

Please Note: Polling places are subject to change. Always check your designated polling place location via this website prior to going to vote.

eligible to vote.

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Precinct C3-27

AMERICUS SUMTER REC DEPARTMENT

408 RUCKER ST

AMERICUS, GA, 31719 - 00

Election Day polling place hours are 7:00 am - 7:00 pm.

Directions to Polling Place

Click Here for Early Voting Locations and Times
Click Here for Municipal Polling Place

NOTE: Non-specific rural addresses may not be available.

l Your Elected Officials

Candidates Elected: Officials Elected Statewide
District Maps: Congressional District Maps
U.S. Congress: District 002

Georgia Senate: District 012

Georgia House: District 138

Judicial: Southwestern District
Commission: District 005

School: District 005

Ward: District 005

Click Here for Qualified Candidates

Print / Email Precinct Card Back

https://www.mvp.sos.ga.gov/MVP/voterDetails.do

Georgia Voter ID

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Stop Voter Fraud

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Elections Division

be
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Elections Advisory Council

Share 3 V dite
Help St
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Georgia VoteSafe

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